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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION
    In re:                                                          §     Chapter 11
                                                                    §
    MCDERMOTT INTERNATIONAL, INC., et al.,1                         §     Case No. 20-30336 (DRJ)
                                                                    §
                      Reorganized Debtors.                          §     (Jointly Administered)
                                                                    §
                                                                    §
    MICHAEL VAN DEELEN                                              §
                                                                    §
                      Plaintiff,                                    §     Adv. Proc. No. 20-03309
                                                                    §
    v.                                                              §
                                                                    §
    DAVID DICKSON,                                                  §
    and STUART SPENCE,                                              §
    and SCOTT LAMB,                                                 §
    and 10 JOHN/JANE DOES                                           §
                                                                    §
                      Defendants.                                   §
                                                                    §

                           DEFENDANTS’ EMERGENCY MOTION TO SEAL

             Emergency relief has been requested.
             If you object to the relief requested or you believe that emergency consideration is not
             warranted, you must either appear at the hearing or file a written response prior to the
             hearing. Otherwise, the Court may treat the pleading as unopposed and grant the relief
             requested.
             Relief is requested not later than March 10, 2021.

             The above-captioned defendants (the “Defendants” or “McDermott”)2 state the following

in support of this motion (this “Motion”):


1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor McDermott
International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 757 North
Eldridge Parkway, Houston, Texas 77079.
2
         A detailed description of the Debtors and their businesses, and the facts and circumstances supporting the
         Debtors’ chapter 11 cases, are set forth in detail in the Declaration of Michael Lou, Chief
         Financial Officer of Oasis Petroleum, Inc., in Support of Debtors’ Chapter 11 Petitions (the “First Day
         Declaration”), which is filed in connection herewith.


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                                        Relief Requested

        1.       The Defendants seek entry of an order, substantially in the form attached

hereto (the “Order”): (a) authorizing the Defendants to file under seal the Van Deelen

Communications (as described herein), and (b) directing that the Van Deelen Communications

shall remain under seal and confidential and not be made available to anyone, without an order of

the Court including in response to any Freedom of Information Act requests.

                                     Jurisdiction and Venue

        2.       The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). The Defendants confirm their consent, pursuant to

rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry of

a final order by the Court.

        3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.       The bases for the relief requested herein are sections 105(a) and 107(b) of the

Bankruptcy Code, Bankruptcy Rule 9018, and rules 9037-1 and 9013-1 of the Bankruptcy Local

Rules for the Southern District of Texas (the “Bankruptcy Local Rules”).

                                Background and Basis for Relief

        5.       In recent months counsel for McDermott has received several communications

from Mr. Van Deelen. These communications have been increasingly antagonistic. McDermott

seeks authority to file these communications and any responses thereto under seal (the “Van

Deelen Communications”).

        6.       The Van Deelen Communications contain defamatory statements and should be

sealed pursuant to 11 U.S.C. § 107(b)(2).



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        7.       Section 105(a) of the Bankruptcy Code codifies the inherent equitable powers of

the bankruptcy court and empowers the bankruptcy court to “issue any order, process, or judgment

that is necessary or appropriate to carry out the provisions of [the Bankruptcy Code].”

        8.       Bankruptcy Rule 9018 defines the procedures by which a party may move for relief

under section 107(b) of the Bankruptcy Code. Bankruptcy Rule 9018 provides, in relevant part,

that on motion “the court may make any order which justice requires . . . to protect any entity

against scandalous or defamatory matter contained in any paper filed in a case under the Code.”

Additionally, Bankruptcy Local Rule 9037-1 provides, in relevant part, that “[a] motion, reply or

other document may initially be filed under seal if the filing party simultaneously files a motion

requesting that the document be maintained under seal.”

        9.       Good cause exists to authorize the Defendants to file the Van Deelen

Communications under seal. Filing the Van Deelen Communications under seal allows the Court

to be made aware of the content of the Van Deelen Communications while protecting the parties.

Critically, Mr. Van Deelen already has possession of the Van Deelen Communications and will

not be prejudiced by the relief requested.

                                    Emergency Consideration

        10.      The Defendants request emergency consideration of this Motion as the sealed

documents are being filed contemporaneously herewith and a hearing is presently scheduled in

this matter for this Wednesday, March 10, 2021 at 9:00 a.m.




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Houston, Texas
Dated: March 8, 2020

Respectfully submitted,

 /s/ Matthew D. Cavenaugh
 JACKSON WALKER LLP
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 Houston, TX 77010
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 8, 2021, I caused a true and correct copy of the foregoing
document to be served via the Court’s ECF notification system to the parties listed below at the
email addresses listed.

        Michael Van Deelen,
        16215 Friar Circle
        Spring, TX 77379
        michaelvandeelen@gmail.com


                                                     /s/ Matthew D. Cavenaugh
                                                     Matthew D. Cavenaugh




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